     Case: 1:17-cv-00447-SJD Doc #: 5 Filed: 10/20/17 Page: 1 of 6 PAGEID #: 21



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

ADAM GAYAR,                                    : Case NO. 1:17-CV-447
                                               :
              Plaintiff,                       : Judge Susan J. Dlott
                                               :
v.                                             :
                                               :
UNIVERSITY OF CINCINNATI                       :
COLLEGE OF MEDICINE,                           :
                                                 JOINT DISCOVERY PLAN
                                               :
              Defendant.
                                               :


        Now come all parties to this case, by and through their respective counsel, and

hereby jointly submit to the Court this Joint Discovery Plan, pursuant to the Court’s

Pretrial Procedure Outline. The parties conducted their discovery conference on

October 9, 2017.

        1.    MAGISTRATE CONSENT

        The parties:

              □        unanimously consent to the jurisdiction of the United States
                       Magistrate Judge pursuant to 28 U.S.C. § 636 (c).

              X        do not unanimously consent to the jurisdiction of the United States
                       Magistrate Judge pursuant to 28 U.S.C. § 636 (c).

              □        unanimously give consent to the jurisdiction of the United States
                       Magistrate Judge pursuant to 28 U.S.C. § 636 (c), for trial purposes
                       only, in the event that the District Judge assigned is unavailable on
                       the date set for trial (e.g. because of other trial settings, civil or
                       criminal).




21426238.1
     Case: 1:17-cv-00447-SJD Doc #: 5 Filed: 10/20/17 Page: 2 of 6 PAGEID #: 22



        2.   RULE 26(A) DISCLOSURES

             □      There are no changes that need to be made in the timing, form, or
                    requirement for disclosures under Rule 26(a). All disclosures
                    required by Rule 26(a)(1) have been made by the parties hereto or
                    will be made by the time of the scheduled Preliminary Pretrial
                    Conference.

             X      The parties agree to delay the initial disclosure until November 10,
                    2017. The purpose of delay is

                    □      to give the Court time to rule on the pending dispositive
                           motion.

                    X      to allow the parties to gather information.

        3.   DISCOVERY ISSUES AND DATES

        A.   Describe the subjects on which discovery is to be sought and the nature,
             extent, and scope of discovery that each party needs to: (1) make a
             settlement evaluation; (ii) prepare for case dispositive motions; and (iii)
             prepare for trial.

             Plaintiff’s claims and damages and Defendant’s defenses.


        B.   Discovery of Electronically Stored Information. The parties have
             discussed disclosure, discovery, and preservation of electronically stored
             information, including the form or forms in which it should be produced.

             _____X______ Yes

             ___________ No

             (i)    The parties have electronically stored information in the
                    following formats:

             The parties agree that any electronically stored information will be
             produced either in hard copy or in an image format. When hard copies or
             image files are produced, the producing party will preserve the integrity of
             the electronic documents’ contents. After initial production in hard copy
             or image format is complete, a party desiring electronic documents in
             native file format must demonstrate a particularized need for such
             production.




                                            2
21426238.1
     Case: 1:17-cv-00447-SJD Doc #: 5 Filed: 10/20/17 Page: 3 of 6 PAGEID #: 23



        (ii)   The case presents the following issues relating to disclosure, discovery, or
               preservation of electronically stored information, including the form or
               forms in which it should be produced:

               No known issues.



        C.     Claims of Privilege or Protection. The parties have discussed issues
               regarding the protection of information by a privilege or the work-product
               doctrine, including whether the parties agree to a procedure to assert these
               claims after production or have any other agreements under Fed. R. Evid.
               502.

               _____X______ Yes

               ___________ No

               (i)    The case presents the following issues relating to claims of a
                      privilege or of protection as trial preparation materials:

               The parties agree that any privileged materials or attorney work product
               that is inadvertently disclosed will be immediately returned to the
               producing party without retaining any copies if, after review, the materials
               appear on their face to be privileged or attorney work product or if notice
               of the inadvertent production is given within 30 days of production. The
               parties will present any dispute over disclosure or production of privileged
               materials or attorney work product to the Court for decision, after making
               good faith efforts to resolve the dispute.



               (ii) Have the parties agreed on a procedure to assert such claims
               AFTER production?

               _____X______ Yes

               ___________ No

               ___________ Yes, and the parties ask that the Court include the
               following agreement in the scheduling order:

        D.     The parties recommend that discovery

               X      need not be bifurcated

               □      should be bifurcated between liability and damages
                                               3
21426238.1
     Case: 1:17-cv-00447-SJD Doc #: 5 Filed: 10/20/17 Page: 4 of 6 PAGEID #: 24



             □     should be bifurcated between factual and expert

             □     should be limited in some fashion or focused upon particular issues
                   which relate to

        E.   Disclosure and report of plaintiff expert(s) by February 28, 2018.

        F.   Disclosure and report of defendant expert(s) by April 13, 2018.

        G.   Discovery cutoff: June 29, 2018.

        H.   Anticipated discovery problems

             □     __________________________________________

             X     None

        4.   LIMITATIONS ON DISCOVERY

        A.   Changes in the limitations on discovery

             □     Extension of time limitations (currently one day of seven hours) in
                   taking of depositions to                        .

             □     Extension of number of depositions (currently 10) permitted to
                                     .

             □     Extension of number of interrogatories (currently 25) to
                                             .

             □     Other:                                                  .

             X     None

        B.   Protective Order

             X     A protective order will likely be submitted to the Court on or before
                   November 24, 2017.

             □     The parties currently do not anticipate the need for a protective
                   order. If the parties subsequently deem that one is necessary, they
                   will submit a joint proposed order to the Court. Such order will be
                   in compliance with Shane Group, Inc. v. Blue Cross Blue Shield of
                   Michigan, 825 F.3d 299 (6th Cir. 2016).




                                           4
21426238.1
     Case: 1:17-cv-00447-SJD Doc #: 5 Filed: 10/20/17 Page: 5 of 6 PAGEID #: 25



        5.    OTHER COURT ORDERS UNDER RULE 26(C) OR RULE 16(B)
              AND (C)

        A.    Deadline to amend the pleadings: November 17, 2017.


        B.    Dispositive motion deadline: August 31, 2018.



                                          Respectfully submitted,

                                          MICHAEL DEWINE
                                          Attorney General of Ohio

    /s/ Marc D. Mezibov (email consent    By: /s/Doreen Canton
    on 10/9/17)                              Doreen Canton (0040394)
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                                           5
21426238.1
     Case: 1:17-cv-00447-SJD Doc #: 5 Filed: 10/20/17 Page: 6 of 6 PAGEID #: 26



                              CERTIFICATE OF SERVICE

        I hereby certify that on October 20, 2017, I electronically filed a copy of the Joint

Discovery Plan with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following:


                      Marc D. Mezibov
                      Brian J. Butler
                      615 Elsinore Place
                      Cincinnati, Ohio 45202

                      Attorneys for Plaintiff
                      Adam Gayar




                                                    /s/Doreen Canton




                                                6
21426238.1
